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                                d/b/a T3Leads,
      Grigor Demirchyan, and Marina Demirchyan
14
15
                                     UNITED STATES DISTRICT COURT
16
                                   CENTRAL DISTRICT OF CALIFORNIA
17
                                              WESTERN DIVISION
18
19    Consumer Financial Protection                      Case No. 2:15-cv-09692-PSG(Ex)
      Bureau,
20                                                       Hon. Philip S. Gutierrez
21                                                       DECLARATION OF HERBERT P.
                              Plaintiff,                 KUNOWSKI IN SUPPORT OF
22                                                       DEFENDANTS’ MOTION
                                                         DEFENDANTS' MOTION TO
                                                                             TO STAY
                                                                                STAY
              v.                                         THE CASE PENDING DISPOSITION OF
23                                                       APPEAL
      D and D
            D Marketing,
              Marketing,Inc.,
                          Inc.,cVb/a
                                d/b/a
24    T3Leads, Grigor Demirchyan, Marina                 Filed Concurrently with Motion for Stay
      Demirchyan, et al.,                                and Proposed Order
25
                                                         Hearing Date:          July 17, 2017
26                                                       Hearing Time:          1:30 p.m.
                              Defendants.                Courtroom:             6A
27                                                       Courthouse:            First Street
28
                   DECLARATION OF HERBERT P. KUNOWSKI IN SUPPORT OF DEFENDANTS’ MOTION TO STAY THE CASE
                                                                    DEFENDANTS' MOTION
                                               PENDING DISPOSITION OF APPEAL
      2767451v.1
     Case 2:15-cv-09692-PSG-E Document 90-2 Filed 05/26/17 Page 2 of 3 Page ID #:628



1                           DECLARATION OF HERBERT P. KUNOWSKI
2
              I, Herbert P. Kunowski, declare as follows:
3
4             1.
              1.      I am an attorney at law duly licensed and admitted to practice before all the
 5    courts in the State of California, including this U.S. District Court, and a member of the
 6
                  Wilson, Elser,
      law firm of Wilson, Elser, Moskowitz,
                                 Moskowitz, Edelman
                                            Edelman & Dicker LLP, counsel
                                                                  counsel of record for
 7
 8    Defendants, D and D
      Defendants,       D Marketing,
                          Marketing, Inc.,                  (“D&D”), Grigor Demirchyan,
                                             d/b/a T3 Leads ("D&D"),
                                      Inc., cVb/a
 9    and Marina
      and Marina Demirchyan
                 Demirchyan (collectively
                            (collectively "Defendants"),
                                          “Defendants”), in the
                                                             the above-captioned
                                                                  above-captioned action
                                                                                  action
10
      brought by
      brought    Plaintiff, Consumer
              by Plaintiff, Consumer Financial
                                     FinancialProtection
                                               ProtectionBureau  (the“Bureau”).
                                                          Bureau(the  "Bureau"). I have
                                                                                   have
11
12    personal knowledge
      personal knowledge of
                         of the matters stated
                            the matters stated herein,
                                               herein, and could
                                                           could and
                                                                 and would
                                                                     would competently
                                                                            competently
13    testify to the following under oath.
14
              2.                    noted in
                         Defendants noted
                      As Defendants       in the
                                             the parties’
                                                 parties' Joint Rule 26(f) Report filed with this
15
16    Court on April 20, 2017, the Bureau is seeking civil money penalties in this case of up to
17    $1,087,450
      $1,087,450 per
                 per day.
                     day. (D.E.
                          (D.E. 83). This followed
                                83). This  followed from the parties'
                                                    from the parties’ Rule
                                                                      Rule 26(f)
                                                                           26(f) conference
                                                                                  conference
18
      that took
      that took place
                place on
                      on April
                         April 6,
                               6, 2017,
                                  2017, during
                                        during which
                                               which the
                                                     the Bureau's
                                                         Bureau’s counsel,
                                                                  counsel, Barry
                                                                           Barry Reiferson,
                                                                                 Reiferson,
19
20    told me that the Bureau was seeking the recovery of $1,087,450 per day and every day
21    for alleged knowing violations of the Consumer Financial Protection Act.
22
              3.
              3.                       parties’ Rule
                      As agreed at the parties' Rule 26(f)
                                                     26(f) conference,
                                                           conference, the
                                                                       the parties
                                                                           parties exchanged their
23
24    Rule 26(a)(1)
           26(a)(1) Initial
                    Initial Disclosures
                            Disclosures on
                                        on May
                                           May 5, 2017, and the Bureau asserted
                                                                       asserted in its Initial
25
      Disclosures served upon Defendants
                              Defendants that
                                         that it was entitled to seek civil money penalties of
26
27
28                                                       2
                   DECLARATION OF HERBERT P. KUNOWSKI IN SUPPORT OF DEFENDANTS’ MOTION TO STAY THE CASE
                                                                    DEFENDANTS' MOTION
                                               PENDING DISPOSITION OF APPEAL

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1     up to $1,087,450 per day, in addition to other monetary and injunctive relief that it was
2
      seeking in this case.
3
4             I declare under penalty of perjury under the laws of the United States of America
 5 that
   that the foregoing
            foregoing is true and correct
                      is true     correct this 26th day
                                          this 26th day of
                                                        of May
                                                           May 2017
                                                                2017 atat Los
                                                                           LosAngeles,
                                                                               Angeles,
 6
   California.
 7
 8
 9                                                  By: /s/ Herbert P.
                                                                    P Kunowski
                                                        Herbert P. Kunowski, Declarant
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28                                                       3
                   DECLARATION OF HERBERT P. KUNOWSKI IN SUPPORT OF DEFENDANTS’ MOTION TO STAY THE CASE
                                                                    DEFENDANTS' MOTION
                                               PENDING DISPOSITION OF APPEAL

      2767451v.1
